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                        IN THE UNITED STATES DISTRICT COURT
                                                                                           r         IL~j)
                    FOR THE NORTHERN DISTRICT OF WEST VIRGINIA                                  A”
                               MARTINSBURG DIVISION          u                                   ~‘G 1~2o
                                                                                                              2
  SKYLAR MARTI SCHNIPPEL,                                                                          ~ ~
                                                                                                     254011)
                  Petitioner,

  v.                                                     CWIL ACTION NO.: 3:22-CV-115
                                                         (GROH)
  FREDERICK ENTZEL JR.,
  Warden, FCI Hazelton,
              Respondent.

               CORRECTED MEMORANDUM OF LAW IN SUPPORT OF
         APPLICATION FOR WRIT OF HABEAS CORPUS UNDER 28 U.S.C.                                 § 2241
          COMES Petitioner, SKYLAR MARTI SCHNIPPEL (“Schnippel”), appearing pro Se, and

  pursuant to the Court’s Notice of Deficient Pleading And Intent to Strike Pleading dated August 2,

  2022 and the Local Rules of Prisoner Litigation Procedure files his Corrected Memorandum of Law

  in Support of Application for Writ of Habeas Corpus Under_28 U.S.C.               §   2241, would show as

  follows:

                                 STATEMENT OF JURISDICTION

         Jurisdiction is vested in this Court pursuant to 28 U.S.C.          § 2241. A federal prisoner may
  attack the validity ofhis sentence in a § 2241 petition if he can meet the requirements of~ 2255(e)’s

  savings clause.In United States v. Wheeler, 886 F.3d 415           (4t~~   Cir. 2018), the Fourth Circuit

  concluded that § 2255 is inadequate and ineffective to test the legality of a sentence when: (1) at the

  time of sentencing, settled law of this circuit or the Supreme Court established the legality of the

  sentence; (2) subsequent to the prisoner’s direct appeal and first § 2255 motion, the aforementioned

  settled substantive law changed and was deemed to apply retroactively on collateral review; (3) the

  prisoner is unable to meet the gatekeeping provisions of      §   2255(h)(2) for second or successive
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  motions; and (4) due to this retroactive change, the sentence now presents an error sufficiently grave

  to be deemed a fundamental defect. See Wheeler, 886 F.3d at 429.

                         STATEMENT OF THE GROUND FOR REVIEW

          A.       Whether In Light of Burrage v. United States, 134 S. Ct. 881 (2014), the District

  Court Erred in Sentencing Schnippel Under the Death Caused Enhancement Pursuant to U.S.S.G.

  § 2D1.1(a)(2).
                                             DISCUSSION

          As a preliminary matter, Schnippel respectfully requests that this Court be mindful that pro

  se pleadings are to be construed liberally. See United States v. Wilson, 699 F.3d 789 (4” Cir. 2012);

  Haines v. Kerner, 404 U.S. 519, 520 (1972) (same).

          A.       In Light of Burrage v. United States, 134 5. Ct. 881 (2014), the District Court
                   Erred in SentencinE Schnippel Under the Death Caused Enhancement Pursuant
                   to U.S.S.G. ~ 2D1.1(a)(2).

         In this case, Schnippel asserts factual innocence of his sentence enhancement in light of

  Burrage. Schnippel’ s sentence was driven by his sentencing enhancement under       § 2D 1.1 (a)(2). In
  order for Schnippel to proceed under 28 U. S.C.   § 2241, he must show that his remedy under § 2255
  is inadequate or ineffective under the four conditions listed in Wheeler above.

         In his § 2255 Motion, Schmippel’s argued against the death caused enhancement pursuant to

  U.S.S.G.   § 2D1.1(a)(2) under Burrage. The United States District Court for the Eastern District of
  Virginia, Alexandria Division, in Criminal No. 1 :09-cr-00072-LMB..1 ruled against his claim and

  dismissed his motion with prejudice. Since that time, the Fourth Circuit has held that Burrage’s

  interpretation does, in fact, apply to the “death results” provision of the Sentencing Guidelines. As

  such, under Wheeler, Schnippel easily meets the four~part test for relief under 28 U.S.C.   § 2241.

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          At issue in Burrage was the meaning of “death or serious bodily injury results.” The Court

  held that “at least where use of the drug distributed by the defendant is not an independently

  sufficient cause ofthe victim’s death or serious bodily injury, a defendant cannot be liable under the

  penalty enhancement provision of2 i U.s .C. § 841 (b)( 1 )(C) unless such use is a but-for cause ofthe

  death or injury.” Burrage, 134 S. Ct. at 892. That holding “narrow[s] the scope ofa criminal statute,”

  Schriro, 542 U.S. at 351, because but-for causation is a stricter requirement than are some alternative

  interpretations of “results.”

          Here, Schnippel’s sentence was driven by his sentencing enhancement under U.S.S.G.            §
  2D 1.1 (a)(2). This enhancement increased his sentence. As such, because he is actually innocent of

  said enhancement, he should be resentenced to a significantly less harsh sentence.

         In Burrage v. United States, 134 S. Ct. 881 (2014), Marcus Andrew Burrage, the defendant

  was convicted after ajury trial of heroin distribution with death resulting, and was sentenced to the

  mandatory minimum 20 years. The deceased heroin customer, Joshua Banka, was a “long-time drug

  user,” who “died.   .   .   following an extended drug binge.” 134 S.Ct. at 885. During Banka’s last 24

  hours alive, he consumed multiple drugs, including heroin from the defendant. At trial, two medical

  experts testified about the drugs found in Banka. A forensic toxicologist determined that, at the time

  ofhis death, Banka had in his system heroin metabolites, codeine, alprazolam (Xanax), clonazepam

  metabolites and oxycodone. Only heroin metabolites were present at levels greater than therapeutic

  ranges. Nonetheless, while the toxicologist opined that the heroin contributed to Banka’s death, he

  could not say whether Banka would have lived had he not taken heroin. Similarly, the medical

  examiner described the cause ofBanka’s death as “mixed drug intoxication” with heroin, oxycodone,

  aiprazolam and clonazepam all playing “a contributing role.” Like the toxicologist, the medical


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  examiner could not state that Banka would have lived had he not used the heroin, and testified that

  the cause ofdeath was “mixed drug intoxication.” 134 S.Ct. at 885-86. The Supreme Court answered

  one question concerning the application and interpretation of 21 U.S.C.               §   841: “whether the

  defendant maybe convicted under the death results’ provision when the use of the controlled

  substance was a ‘contributing cause’ ofthe death[.]” Burrage, 134S. Ct. at 886. The Court answered

  in the negative, holding that “a defendant cannot be liable under.. .21 U.S.C. § 841(b)(1)(C) unless

  such use is a but-for cause of the death.       .   .   .“   Id. at 892.

         See Young v. A ntonelli, 982 F.3d 914(4th Cir. 2020). In Young, the question before the Court

  was whether the petitioner (“Young”) was entitled to habeas relief under 28 U.S.C.           § 2241. Young
  sought relief from his sentence—which was enhanced based on the “death results” provision of the

  United States Sentencing Guidelines (“Sentencing Guidelines”)—based on the Supreme Couifs

  decision in Burrage. Although Burrage interpreted the “death results” provision of 21 U.S.C.               §
  841 (b)( 1), Young contends the decision applies as well to the “death results” Sentencing Guidelines

  provision at U.S.S.G.   § 2Dl   .   l(a)(l). Accordingly, he argued that he met the four-part test for relief

  under § 2241 in Wheeler. The district court determined it lacked jurisdiction over Young’s petition,

  concluding that because Burrage had not previously been applied to the Sentencing Guidelines,

  Young’s invocation of Burrage was premature. The Fourth Circuit agreed with the district court’s

  analysis. At the time of its decision, neither the Supreme Court nor the Fourth Circuit had applied

  Burrage ‘s statutory interpretation to the Sentencing Guidelines. In Young, the Court concluded,

  however, that Burrage’s interpretation does, in fact, apply to the “death results” provision of the

  Sentencing Guidelines. Thus, the Court vacated and remanded for proceedings consistent with this

  opinion.


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           See also, Santillana v. Upton, 846 F.3d 779 (5th Cir. 2017). Tn Santillana, the Fifth Circuit

  reversed and remanded the Northern District of Texas’ decision on Santillana v. Upton, (No.

  15-10606)    (5t1~   Cir. Jan. 16, 2017), finding that Santillana had not satisfied the “savings clause” of

  28 U.S.C.    § 2255(e) because Burrage is not retroactively applicable on collateral review. Because
  Burrage applies retroactively. Santillana was convicted in 2009 of distributing a schedule IT

  controlled substance (methadone) that resulted in the death of Brandon Moore, in violation of 21

  U.S.C.   §   841(a)(1) and (b)(1)(C). On appeal, Santillana contended, inter alia, that there was

  insufficient evidence to show that Moore’s death “result[edj” from methadone within the meaning

  of § 841 (b)( 1 )(C). Santillana conceded that all three medical witnesses, including his own expert,

  concluded that methadone was at least a contributing cause of death. He maintained, however, that

  the plain meaning of “results” implies “a stronger degree of causation than mere contribution.” He

  did not explain what that “stronger degree of causation” might be. The Fifth Circuit affirmed,

  explaining that even if Santillana were correct, “there was sufficient evidence for a reasonable jury

  to conclude that Moore’s death resulted from his use of methadone under a heightened standard of

  causation.” Santillana, 604 F.3d at 196-97. Thereafter, in Burrage, the Court “h[eld] that, at least

  where use of the drug distributed by the defendant is not an independently sufficient cause of the

  victim’s death or serious bodily injury, a defendant cannot be liable under the penalty enhancement

  provision of 21 U.S.C.        §   841(b)(l)(C) unless such use is a but-for cause of the death or injury.”

  Burrage, 134 S. Ct. at 892. Santillana filed a habeas petition under          §   2241, alleging that, under

  Burrage ~ interpretation of “results,” he was actually innocent ofhis § 841 (b)( 1 )(C) conviction. The

  district court dismissed for lack ofjurisdiction because it concluded that, absent an explicit holding

  from the Supreme Court, it lacked the authority to determine whether Burrage was retroactively


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  applicable. It relied on Tyler v. Cain, 533 U.S. 656, 662-63 (2001), which held that for a prisoner

  to file a second or successive habeas petition based on a new rule of constitutional law, the Supreme

  Court must have held the rule to be retroactive to cases on collateral review. But the holding in Tyler

  depends on statutory language providing that the “new rule of constitutional law [be] made

  retroactive to cases on collateral review by the Supreme Court.” 28 U.S.C.             § 2244(b)(2)(A)
  (emphasis added). In contrast, the retroactivity element ofour savings-clause analysis is not tethered

  to a similar statutory limitation. Our precedent requires only that a    § 2241   petition be based on a

  “retroactively applicable Supreme Court decision,” without specifying that the Supreme Court must

  have made the determination of retroactivity.

          In this case, Schnippel’s trial transcript clearly shows that all parties, including the District

  Court, understood the essential element of “death results” to be broader than the independently

  sufficient “but-for” causation now prescribed by the Supreme Court in Burrage. See Doe. 200-1,

  Trial Transcript at 356 (noting that there were numerous other substances in the decedent’s blood,

  but that “[i]f the heroin is the straw that breaks the camel’s back, so to speak, that should be

  sufficient...”). Thus, the facts of Schippel’s case no longer fall within the newly-established narrow

  interpretation of“death results” in 21 U.S.C. §841 (b)( 1 )(C). Therefore, Schnippel should receive the

  same relief as Burrage because he can show he is actually innocent of this enhanced penalty.

         In this case, Lannes died after injecting heroin provided by the defendant. In addition to

  heroin, the parties stipulated that the toxicologist would testify that the decedent’s blood also

  contained Doxylaine, (indicative ofan antihistamine or sleeping pill) Dextromethophan (Robitus sin)

  and Buproprion (indicative ofthe antidepressant Wellburtrin). Id. at 366-67. Rather than calling the

  experts to testify on the effects of the various other substances, the parties stipulated to a series of


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  facts. It is also worthy to mention that Schnippel’s counsel made stipulations with the government

  that Schnippel did not agree with or knew about. In fact, defense counsel stipulated to the toxicology

  report for Lannes and stipulated that she died from a heroin overdose. It is clear that none of the

  parties, including the Court, were concerned with establishing “but for” causation for the “death

  results” element. The tenn “but for” does not appear in the discussion of the resulting death, and

  even when the additional substances were raised by counsel, the Court stated, “[i]f the heroin is the

  straw that breaks the camel’s back, so to speak, that should be sufficient...”. Id. at 356. The

  stipulation states that the toxicologist would testify that the quantities of the three additional

  substances alone or in combination could not have caused the death. Id. However, the facts do not

  contain a stipulation, or any expert testimony, indicating that it was the heroin alone that caused the

  death.1 In issuing its ruling, the Court did not make a finding that the heroin was an independently

  sufficient, “but-for” cause of death. This is a critical link necessary to establish the Section

  841(b)(1)(C) causation element prescribed in Burrage. Without this evidence, like Burrage,

  Schnippel is innocent ofthe enhanced penalty. Therefore, his judgment should be vacated, set aside,

  or corrected.

          Schnippel’s sentence was enhanced based on an unfounded allegation and he was not

  afforded the opportunity to challenge the government’s case-in-chief due to his counsel’s




          In fact, a lay person’s review of news articles shows that the combination of some of these
  drugs may make a substance more toxic than it otherwise would be alone. See
  http://www.dailymail.co.uk/news/article- 131 9865/Cheese-Heroin-cold-medicine-drug2o-school-
  childrens-deaths-NY.html;
  http ://www.drugabuse. gov/publications/drugfacts/cough-cold-medicine-abuse;
  http://www.mayoclinic.org/diseases-conditions/serotoninsyndrome/basics/deflnition/con-20028946;
  http://www.peoplespharmacy.com/20 12/04/1 9/antidepressant-interactions-can-bedeadly!.

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  ineffectiveness by failing to provide him with the postmortem and forensic pathology reports and

  not challenging the application of the “death result” enhancement to his sentence. This is the same

  factual predicate for an uncertainty.   . .   same to the uncertainty as to the role of heroin in the Burrage

  victim’s death that led the court to reverse.

            More over, it was established at trial that the bags of heroin Schnippel got from Quick on

  March 4, 2008, were not the bags of heroin found in Lannes’ room— corners of ziploc bags burnt to

  seal shut and there were plastic zip jewelry bags that were never fingerprint tested nor was Lannes’

  room treated as a crime scene. Additionally, after Lannes left Schnippel’ s house the night, her phone

  records show her calling another heroin dealer named Duncan Parker (“Parker”). The bags of drugs

  found in her room were the same style of bags that Parker sold his heroin in. Unfortunately, Parker

  overdosed and died 3 months after Lannes died. Hence, no investigation was ever conducted on

  Parker.

            The items in question in this case or predicate for uncertainty are: (1) similar in Burrage, the

  synergistic effect of drugs that Lannes may have had taken, combined with a sleeping pill,

  wellbutrin, and robitussin; (2) possible pre-existing health problem; and (3) the toxicology report and

  internal examination report were never produced for Schnippel to see or use in his defense.

            It is noteworthy that Schnippel signed the stipulations solely based on his counsel’s advise.

  Due to incorrect or lack of information provided by defense counsel, Schnippel was not able to

  review a complete autopsy result of the lab procedures which would have: (a) identified and

  quantified potential toxins; (b) include prescription medications and drugs of abuse; and (c)

  interpretations ofthe findings. And because Schnippel is not a toxicologist, chemist, or pathologist,

  he had no way of confirming whether or not Lannes died because of heroin alone. Therefore, he


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  Wasn’t able to make an intelligent judgment, instead he wholly relied on his attorney’s advice.

  Schnippel had no choice but to sign the stipulations of the government as advocated by his attorney.

          In this case, Schnippel pled guilty to Count 4 and was found guilty on Counts 1-3, charging

  him with Conspiracy to Distribute, Possess with Intent to Distribute, and Distribution of Heroin, in

  violation of2l U.s .C.   § § 841 (a)( 1) and (b)( 1 )(C). Instead ofusing a Base Offense Level of26 (based
  on the allegation in the Indictment that Schnippel’s offense involved 500 grams or more of heroin),

  the PSR erroneously used 43 because allegedly the offense of conviction establishes that death or

  serious bodily injury resulted from the use of heroin, pursuant to U.S.S.G.      § 2D1.l(a)(2).
          As to the evidence in Burrage, where the medical expert testified that the victim’s cause of

  death was “mixed drug intoxication” with heroin, oxycodone, aiprazolam and clonazepam all playing

  “a contributing role.” It was the latter uncertainty as to the role of heroin in the Burrage victim’s

  death that led the Court to reverse. Same in Schnippel’s case, as there are other contributing factors

  that was not discussed and examined in detail (as enumerated above).

          Thus, the Burrage holding defined and narrowed what is required for a conviction of the

  aggravated crime of drug distribution resulting in death. Just as Santos defined the statutory term

  “proceeds”, and Cleveland narrowed what constituted a “property interest”, and Bailey narrowed and

  defined the term “use”, Burrage defmed and explained the application of the phrase “death results”

  to require but-for causation. See, e.g., Davis v. United States, 417 U.S. 333 (1974); Montgomety v.

  Louisiana, 136 S.Ct. 718 (2016), holding that substantive decisions presumptively apply

  retroactively on collateral review.

         The above holdings concerned the reach ofthe various federal statutes they addressed. They

  all dealt with the substantive elements that the government must prove to convict, and all placed


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  ~ertain conduct outside the reach of the law. Thus, all, including Burrage, automatically apply

   retroactively on collateral review.

          Absent the death caused enhancement, Schnippel’s Total Offense Level would have been 30

   (after a 2-level increase for obstruction ofjustice) in Criminal History Category I,’ which yields an

  advisory guideline range of 97 to 121 months. Moreover, absent the death caused enhancement, his

   statutory mandatory sentence is up to 20 years. See Section 841(b)(l)(c). The increase in the

  calculation of his sentencing range based on the      § 2D 1.1 (a)(2) enhancement, resulted in a harsher
  sentence and should be deemed a miscarriage of justice. The Petition thus facially satisfies the

  conditions to be considered in a       §   2241 proceeding under Wheeler and the savings clause of    §
  2255(e).

                                             RELIEF REQUESTED

           15.    In light Burrage, Schnippel’s sentence must be vacated for resentencing without the

  U.S.S.G.   § 2D1.1(a)(2) enhancement.
                                                            Respectfully submitted,




  Dated: August 9, 2022                                     __________________________
                                                            SKYLAR MAR I SCHNIPPEL
                                                            REG. NO. 73209-083           V


                                                            FCI HAZELTON
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